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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                              CASE NO. 12CR1291-BEN

                               Plaintiff,
                    vs.                                JUDGMENT OF DISMISSAL
MELISSIA ROSEANN KNUDSEN,

                               Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
      without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment:

      21:952 and 960; 18:2 - Importation of Methamphetamine; Aiding and

     Abetting

              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 6/11/2012
                                                        U~~-
                                                       Mitchell D. Dembin
           FILED                                       U.S. Magistrate Judge


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